                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

  UNITED STATES OF AMERICA                       )
                                                 )        Case No. 1:21-cr-013-02
  v.                                             )
                                                 )        Judge Travis R. McDonough
                                                 )
  MEGAN LEE KNIGHT                               )        Magistrate Judge Susan K. Lee
                                                 )


                                              ORDER



          Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

  the Court: (1) grant Defendant’s motion to withdraw her not guilty plea as to Count One, Count

  Three, and Count Seven of the seven-count Superseding Indictment; (2) accept Defendant’s

  guilty plea as to Count One, Count Three, and Count Seven; (3) adjudicate the Defendant guilty

  of Count One, Count Three, and Count Seven; (4) defer a decision on whether to accept the plea

  agreement until sentencing; and (5) order that Defendant remain in custody until sentencing in

  this matter (Doc. 143). Neither party filed a timely objection to the report and recommendation.

  After reviewing the record, the Court agrees with Magistrate Judge Lee’s report and

  recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

  report and recommendation (Doc. 143) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as

  follows:

       1. Defendant’s motion to withdraw her not guilty plea as to Count One, Count Three, and

          Count Seven of the Superseding Indictment is GRANTED;

       2. Defendant’s plea of guilty to Count One, Count Three, and Count Seven is ACCEPTED;

       3. Defendant is hereby ADJUDGED guilty of Count One, Count Three, and Count Seven;



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     4. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

     5. Defendant SHALL REMAIN in custody until sentencing in this matter which is

        scheduled to take place on March 11, 2022 at 2:00 p.m. [EASTERN] before the

        undersigned.

     SO ORDERED.


                                           /s/Travis R. McDonough
                                           TRAVIS R. MCDONOUGH
                                           UNITED STATES DISTRICT JUDGE




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